                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                 AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )        Case No. 1:15-cr-114
 v.                                            )
                                               )        Judge Travis R. McDonough
 STEPHANIE DIANE RHODES                        )
                                               )        Magistrate Judge Christopher H. Steger
                                               )


                                            ORDER



        Magistrate Judge Christopher H. Steger filed a report and recommendation recommending

 the Court: (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the one-

 count Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3)

 adjudicate Defendant guilty of the charges set forth in Count One of the Indictment; (4) defer a

 decision on whether to accept the plea agreement until sentencing; and (5) order that Defendant

 remain in custody until sentencing in this matter. (Doc. 59.) Neither party filed a timely

 objection to the report and recommendation. After reviewing the record, the Court agrees

 with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS

 and ADOPTS the magistrate judge’s report and recommendation (Doc. 59) pursuant to 28

 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)    Defendant’s motion to withdraw her not guilty plea to Count One of the

              Indictment is GRANTED;

       (2)    Defendant’s plea of guilty to Count One of the Indictment is

              ACCEPTED;




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      (3)    Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

             Indictment;

      (4)    A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             And

      (5)    Defendant SHALL REMAIN in custody until sentencing in this matter, which

             is scheduled to take place on September 9, 2016 at 9:00 a.m. [EASTERN]

             before the undersigned.

    SO ORDERED.

    ENTER:

                                          /s/Travis R. McDonough
                                          TRAVIS R. MCDONOUGH
                                          UNITED STATES DISTRICT JUDGE




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